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                             United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

    BRIAN HUDDLESTON,                              §
                                                   §
          Plaintiff,                               §           Civil Action No. 4:20-CV-00447
                                                   §           Judge Mazzant
    v.                                             §
                                                   §
    FEDERAL BUREAU OF                              §
    INVESTIGATION AND UNITED                       §
    STATES DEPARTMENT OF JUSTICE,                  §
                                                   §
          Defendants.                              §


                                               ORDER

           Pending before the Court is the parties’ Joint Motion to Enter Proposed Briefing Schedule

    (Dkt. #33). After considering the Motion, the Court concludes it should be GRANTED.

           It is therefore ORDERED that the following deadlines are entered:

    November 15, 2021                  Defendants’ Complete Vaughn Index and Motion for
                                       Summary Judgment

    January 10, 2022                   Plaintiff’s Response to Defendants’ Motion for Summary
                                       Judgment
.
    January 31, 2022                   Defendants’ Reply

    February 21, 2022                  Plaintiff’s Sur-Reply


           IT IS SO ORDERED.
          SIGNED this 13th day of August, 2021.




                                        ___________________________________
                                        AMOS L. MAZZANT
                                        UNITED STATES DISTRICT JUDGE
